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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
Deborah VanHorn
Plaintiff,
vs. Case No. 8:18-CV-937-T-36JSS
Centene Management Company, LLC,
Sunshine State Health Plan, Inc.
and Sunshine Health

Defendant.
/

 

NOTICE OF SCHEDULED MEDIATION
Pursuant to the Case Management and Scheduling Order (document #18), entered on June

12, 2018, Plaintiff` Deborah VanHorn files this Notice of Scheduled Mediation to occur as

follows:
DATE: DECEMBER 3, 2018
TIME: 9 a.m. - 5 p.m.
MEDIATOR: MARK A. HANLEY
LOCATION: 100 NORTH TAMPA STREET, SUITE 2200

TAMPA, FLORIDA 33602

Respect{illly Submitted,

JOHN BALES ATTORNEYS

/L>//g

Dofma L. DeConna

Florida Bar No. 914411

A Bales Professional Association
625 E. Twiggs St., Suite 100
Tampa, FL 33602

Telephone: (813) 224-9100

 

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Facsimile: (813) 224-9109
Service Email: Team-Emr)lo\'lnentLaw-.'r:r.lohnBales.cB

CERTIFICATE OF SERVICE
I certify that on Tuesday, June 26, 2018, I electronically filed the foregoing With the
Clerk of the Court by using the CM/ECF system Which Will send notice of electronic filing to:
Gail Golman Holtzman, Esq., nail.holtzman-:‘r:-;`aLsonleWis.com and Monica William harris,

ESq., monica.harrisf£t :jacksonlewis.com.

JOHN BALES ATTORNEYS

Dcinna L. DeConna

cc: MARK A. HANLEY[By Email:drnills@bradley.com]

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